Case 2:02-Cr-20448-BBD Document 465 Filed 08/12/05 Page 1 of 3 Page|D 315

FlLED BY D.O.

IN THE UNITED STATES DISTRICT COURT 05 AUG l2 PH 3: I¢l,
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 02-20448 D P

V.

JOHN E. MADISON, SR., and
WILLIEANN D. MADISON,

Defendants.

 

ORDER REGARDING MOTION 'I`O SET HEARING AND DISPOSE OF
PETITION . . . BY MEMPHIS FIRST COMMUNITY BANK, INC. (DOCUMENT # 413)

 

This cause came on for hearing before the Court on August 1 I, 2005. Afcer hearing from the
parties, and for cause, the Court grants the parties motion for a hearing An ancillary hearing

pursuant to 21 U.S.C. § 853(n) is set for Thursday, December 15, 2005, at 1:30 p.m.

IT Is so 0RDERE1) this 402 day of @ gag ,2005.

§RNICE BOUIE DONALD

UNITED STATES DISTRICT JUDGE

' n the docket sheet in compi?ance
Thls document entered o v/é _05
With Rule 35 emi/or 32(b) FHCrP on

 

 

 

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